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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


JESSICA JONES, et al.,                    Case No. 2:20-cv-02892-SHL-tmp

                Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                Defendants.




      SUPPLMENTAL MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT




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       On May 13, 2024, Plaintiﬀs Jessica Jones, Christina Lorenzen, and Amy Coulson, on

behalf of themselves and the proposed Settlement Classes, moved pursuant to Fed. R. Civ. P.

23(c)(1)(b) and 23(g) that the Court designate the Joseph Saveri Law Firm, LLP (“JSLF”) as

Lead Class Counsel; Gustafson Gluek PLLC (“Gustafson Gluek”), Hartley LLP, and PAUL LLP

(together “proposed Executive Committee Counsel”) as Executive Committee Counsel; and

Turner Feild, PLLC (“Turner Feild”) as Liaison Counsel. See ECF No. 606-1 at 24; see also ECF

No. 380. Plaintiﬀs submit this supplemental memorandum of law in response to the Court’s May

17, 2024 Order (ECF No. 609), directing Plaintiﬀs to “detail and describe [proposed Executive

Committee and Liaison Counsel’s] involvement in this action, such as what documents they

prepared, along with any other significant eﬀorts they undertook during the pendency of this

action.” Id. at 2. Plaintiﬀs’ memorandum of law in support of their unopposed motion for

preliminary approval of settlement is incorporated herein by reference. See ECF No. 606-1.

I.     LEGAL STANDARD

       Fed. R. Civ. P. 23(g)(1) provides that when certifying a class, a court “must appoint class

counsel.” In appointing class counsel, courts apply the following factors: (i) the work counsel has

done in identifying or investigating potential claims in the action; (ii) counsel’s experience in

handling class actions, other complex litigation, and the types of claims asserted in the action;

(iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel will commit

to representing the class. See Fed. R. Civ. P. 23(g)(1)(A). Courts also consider whether plaintiﬀs’

counsel will “fairly and adequately represent the interests of the [putative] class.” Gamboa v.

Ford Motor Co., 381 F. Supp. 3d 853, 868 (E.D. Mich. 2019) (quoting Fed. R. Civ. P. 23(g)(4)).

Further, “a court should consider establishing an executive committee if the litigation involves

numerous complex issues [or] if there is a substantial amount of work to be done.” In re Enzo

Biochem Data Sec. Litig., No. CV 23-4282 (GRB) (AYS), 2023 WL 6385387, at *3 (E.D.N.Y.

Sept. 29, 2023) (citation and internal quotation marks omitted); see also Brigiotta's Farmland

Produce & Garden Ctr., Inc. v. United Potato Growers of Idaho, Inc., No. 4:10-CV-307-BLW,



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2010 WL 3928544, at *1 (D. Idaho Oct. 4, 2010) (noting that “[c]ourts have also appointed an

executive committee to assist in carrying out the fulfillment of leadership duties”) (citation

omitted). In addition, courts may appoint liaison counsel where “significant involvement from a

local law firm . . . is important to eﬀectively represent the class.” Fero v. Excellus Health Plan,

Inc., No. 6:15-CV-6569 EAW, 2016 WL 297742, at *3 (W.D.N.Y. Jan. 25, 2016).

II.     DISCUSSION

        “An antitrust class action is arguably the most complex action to prosecute.” In re

Motorsports Merch. Antitrust Litig., 112 F. Supp. 2d 1329, 1337 (N.D. Ga. 2000); see also id.

(stating that “[t]he legal and factual issues involved are always numerous and uncertain in

outcome”); see also In re Shopping Carts Antitrust Litig., MDL No. 451, 1983 WL 1950, at *7

(S.D.N.Y. Nov.18, 1983) (noting that “antitrust price fixing actions are generally complex,

expensive and lengthy”) (citation omitted).     is litigation was no exception. See ECF No. 606-1,

§ II.B; see also ECF No. 606-2 (Declaration of Joseph R. Saveri), ¶¶ 4–31; see also

Supplemental Declaration of Joseph R. Saveri (“SSD”), ¶¶ 3–4.

        Accordingly, due to the complexity of the issues and the substantial amount of work to be

done in this action, proposed Class Counsel adopted and operated under a leadership structure in

the interests of “achieving eﬃciency and economy without jeopardizing fairness to the parties.”

Manual for Complex Litigation (FOURTH) § 10.221 (2007); see also id., § 10.22 (encouraging

counsel to organize and coordinate their eﬀorts without court involvement); see also In re Enzo

Biochem Data Sec. Litig., 2023 WL 6385387, at *3 (E.D.N.Y. Sept. 29, 2023). Having filed the

Jones Action, Joseph Saveri functioned as Lead Class Counsel. See SSD, ¶ 5. Gustafson Gluek,

Hartley LLP, and PAUL LLP functioned as Executive Committee Counsel. Id.; see also

Declaration of Daniel J. Nordin (“Nordin Decl.”); Declaration of Jason S. Hartley (“Hartley

Decl.”); Declaration of Richard M. Paul III (“Paul Decl.”). Turner Feild functioned as Liaison

Counsel. See SSD, ¶ 5; see also Declaration of Van D. Turner, Jr. (“Turner Decl.”).

        In his role, Mr. Saveri took primary day-to-day responsibility for all aspects of the



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litigation. See SSD, ¶ 6.      is included managing and supervising the attorneys and professional

staﬀ at JSLF. Also, due to the size and complexity of the action, JSLF relied on the participation

of proposed Executive Committee and Liaison Counsel at all stages of the litigation.1 Id., ¶¶ 5–9;
see also infra. Together, all counsel worked as a team. Id., ¶ 7. Responsibility for projects and

tasks were allocated and assigned to constituent members of that team. Id. Work was performed

in a collaborative non-duplicative manner. Id. Firm resources were devoted to projects

commensurate with the scope and complexity of each project. Id. All told, Plaintiﬀs’ legal team

demonstrated itself to be high performing and nimble, delivering the highest quality

representation to Plaintiﬀs and the proposed Settlement Classes. Id.      is included all phases of

the litigation, including law and motion practice, document review, depositions, expert discovery,

class certification, trial preparation, mediation, and, ultimately, settlement. Id. Defendants are

well capitalized businesses, able to retain the highest quality representation to attempt to defeat

Plaintiﬀs’ claims. Id.      e participation and contribution from all proposed Class Counsel firms

was appropriate and necessary to achieve the outstanding result achieved on behalf of the

proposed Settlement Classes. Id.; see also Lyman v. Ford Motor Co., No. 21-CV-10024, 2022

WL 856393, at *11 (E.D. Mich. Mar. 22, 2022) (finding that a multi-tiered leadership structure

would “ensure that suﬃcient resources will be available to handle the anticipated immense

burdens of this litigation on behalf of the putative class”).

       A.      Executive Committee Counsel

       In the interest of eﬃciency and economy, JSLF tasked proposed Executive Committee

Counsel with discrete non-duplicative research, drafting, and document review responsibilities,

as well the responsibility of preparing for and attending certain depositions. See SSD, ¶ 8. For



1
  In performing the work described herein, proposed Executive Committee Counsel and Liaison
Counsel devoted thousands of hours and significant resources toward litigating this case and
obtaining significant relief for the proposed Settlement Classes. See SSD, ¶ 4. Plaintiﬀs will
provide a detailed breakdown of proposed Class Counsel’s individual and collective lodestar and
reimbursable expenses in a subsequent motion for attorneys’ fees and unreimbursed litigation
costs and expenses.

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example, proposed Executive Committee Counsel participated in briefing Plaintiﬀs’ motion for

class certification and opposing Defendants’ motions to dismiss and summary judgment motions.

Id. Proposed Executive Committee Counsel also participated in trial preparation. Id. Proposed

Executive Committee Counsel participated in mediations and settlement negotiations. Id. A case

of this scope and complexity required the participation of multiple firms and the division of labor

between them.        is case involved an antitrust conspiracy between and among Varsity aﬃliated

entities, Charlesbank aﬃliated entities, Bain aﬃliated entities, USASF, and Jeﬀ Webb. Evidence

was required with respect to each to demonstrate liability, impact, and the damages allegedly

caused by their respective conduct.     e responsibilities delegated to proposed Executive

Committee Counsel reflect the complexity of this challenge and are typical of duties often

fulfilled by committees of counsel in complex litigation. See, e.g., Manual for Complex

Litigation, § 10.221 (2007) (stating that “lead counsel may task committees with preparing briefs

or conducting portions of the discovery program if one lawyer cannot do so adequately”).

  erefore, Plaintiﬀs respectfully submit that their request to designate Gustafson Gluek, Hartley

LLP, and PAUL LLP as Executive Committee Counsel should be granted.

                1.       Gustafson Gluek PLLC

        Gustafson Gluek was involved throughout all stages of this litigation. See SSD, ¶ 6; see

also Nordin Decl., ¶ 3. For example, Gustafson Gluek was tasked with the following
responsibilities:

           Analyzing and revising the original complaint prior to filing;

           Researching and drafting Plaintiﬀs’ opposition to Defendant USASF’s motion to
            dismiss;

           Researching and drafting Plaintiﬀs’ opposition to Defendants’ motion to strike
            Plaintiﬀs’ class allegations;

           Analyzing discovery requests propounded by the direct purchaser plaintiﬀs in the
            Fusion Action to determine what additional requests Plaintiﬀs should propound and
            drafting such requests;

           Evaluating Defendants Bain and Charlesbank’s respective discovery responses to
            assess suﬃciency, challenging inappropriate objections and deficiencies and engaging
            in meet and confers, both by telephone conference, email, and letter, regarding

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            deficiencies and the negotiation of custodians and search terms;

           Researching and drafting Plaintiﬀs’ motion to compel Defendants Bain and
            Charlesbank to produce suﬃcient responses to Plaintiﬀs’ discovery requests;

           Analyzing and coding production documents, including documents that were
            produced by Defendants and third parties in this litigation and documents to be
            produced by Plaintiﬀs;

           Analyzing, researching, and summarizing the status of various state law claims after
            relevant orders from the Court;

           Preparing for and taking various depositions, including of key personnel from
            Defendants Bain and Charlesbank;

           Assisting co-counsel in the preparation for oral arguments on reconsideration of
            Defendants’ motion to dismiss and motion to strike, including attending the in-person
            hearing on same;

           Summarizing deposition transcripts via deposition digests and the exhibits used
            therein via exhibit charts; and

           Researching and drafting Plaintiﬀs’ opposition to Defendants’ motion to exclude the
            expert testimony of Dr. Netz.

Id.    erefore, Gustafson Gluek should be designated Executive Committee Counsel.

               2.      Hartley LLP

        Hartley LLP was involved throughout all stages of this litigation. See SSD, ¶ 6; see also

Hartley Decl., ¶ 4. For example, Hartley LLP was tasked with the following responsibilities:

           Evaluating the draft complaint and researching causes of action to assert on behalf of
            Plaintiﬀs and the putative classes;

           Reviewing and evaluating Defendants’ written discovery requests to Plaintiﬀs, and
            researching documents and information for responsive evidence to such requests;

           Analyzing and evaluating Defendants’ discovery responses to determine adequacy,
            challenge inappropriate objections, and identify insuﬃciencies requiring follow up
            with Defendants;

           Researching and drafting a motion to compel Defendant Webb to provide suﬃcient
            responses after multiple meet and confer sessions;

           Analyzing and revising Plaintiﬀs’ draft written discovery responses to Defendants’
            requests;

           Participating in telephone conferences with co-counsel regarding discovery
            negotiations with Defendants and strategizing Plaintiﬀs’ approach to same;

           Proposing and negotiating search terms with Defendants for document searches and

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         productions of Defendant custodians; researching, outlining and preparing motion to
         compel regarding same;

        Drafting discovery requests to Defendants regarding specific research items, such as
         the International Olympic Committee’s recognition of competitive cheer;

        Analyzing and summarizing multiple deposition transcripts;

        Researching and assembling relevant documents in the record for expert analysis and
         use in various expert reports for Plaintiﬀs;

        Researching various legal issues including market definition, scienter requirement of
         diﬀerent states’ consumer protection statutes, liability of corporations for wholly
         owned subsidiaries under diﬀerent states’ laws, Plaintiﬀs’ continuing violation theory
         regarding statute of limitations and tolling of same;

        Preparing for and/or participating in the depositions of several Defendant witnesses;
        Analyzing Defendants’ expert reports for Daubert motions; researching, outlining and
         drafting Plaintiﬀs’ motion to exclude Jonathan Orszag;

        Assisting with Plaintiﬀs’ opposition to Defendants’ motion to exclude James H.
         Aronoﬀ;

        Assisting with Plaintiﬀs’ response to Defendants’ motion for Rule 11 sanctions;

        Assisting Plaintiﬀs’ counsel in preparing for oral argument on Defendants’ motion to
         strike and reconsideration of their motion to dismiss and attending in person hearing
         on same;

        Reviewing and analyzing Plaintiﬀs’ reply brief in support of class certification;
        Reviewing Defendants’ motion to strike the declaration of Dr. Jen Maki in support of
         Plaintiﬀs’ motion for class certification;

        Assisting with preparation for the June 2023 and March 2024 in person mediations,
         including revising detailed mediation briefs and attending both mediations;

        Researching, outlining, and drafting Plaintiﬀs’ opposition to Defendant Webb’s
         motion to dismiss;

        Analyzing complaint filed by a Varsity competitor to determine whether it had any
         impact on our case;

        Assisting with trial preparations, including interviewing trial consultants, attending
         multiple focus group exercises, researching and drafting motions in limine,
         designating deposition testimony and identifying exhibits, preparing witnesses,
         creating a schedule, pretrial order and pretrial memorandum, and conducting strategy
         conferences with co-counsel to prepare for trial;

        Participating in the selection of a settlement administrator, including leading the bid
         process;

        Revising and strategizing the settlement term sheet and settlement agreement; and
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            Researching class notice requirements under Sixth Circuit and Supreme Court
             precedent and assisting in preparing class notice documents and methodology.

Id.     erefore, Hartley LLP should be designated as Executive Committee Counsel.

                3.      PAUL LLP

         PAUL LLP was involved throughout all stages of this litigation. See SSD, ¶ 6; see also

Paul Decl., ¶¶ 4-27. For example, Paul LLP was tasked with the following responsibilities:

            Providing substantial input into the drafting of the original complaint;

            Assisting with the drafting of the Plaintiﬀs’ class certification briefings, including
             conducting legal and factual research on jury instructions for each state where
             Plaintiﬀs had pled state law antitrust claims, creating summary exhibits for the Court
             to support predominance and superiority arguments, and researching, drafting, and
             providing special verdict forms for each jurisdiction;

            Providing legal guidance and drafting input for Plaintiﬀs’ oppositions to motions to
             dismiss filed by Defendants Bain, Charlesbank, and USASF;

            Providing legal briefing and analysis with respect to the parties’ various Daubert
             motions;

            Analyzing and participating in the briefing of Plaintiﬀs’ oppositions to Defendants’
             various motions for summary judgment;

            Participating in the written discovery process, document review, and the crafting of
             Plaintiﬀs’ various requests for production;

            Negotiating search terms and custodians for various Defendants;

            Overseeing the review of the vast privilege logs for Defendants Bain, Charlesbank,
             and Jeﬀ Webb;

            Participating in the drafting of the deposition protocol, including reviewing
             documents, researching the known custodians and applicable law, and putting
             together the factual predicate necessary to seek an exception to the presumptive ten
             deposition rule for briefing;

            Collaborating with co-counsel, as well as plaintiﬀs’ counsel in the Fusion and
             American Spirit actions, to ensure an economical and eﬃcient deposition phase;

            Actively participating in Defendant depositions;

            Providing drafting input for several 30(b)(6) deposition notices, including for the
             depositions of Defendants USASF, Bain, and Charlesbank;

            Preparing outlines of issues for trial, culling the evidence for documents and
             testimony to be used at trial, preparing for and participating in a jury focus group, and
             legal briefing for trial;


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             Designating 40 depositions for trial and cutting video of those depositions to be
              played at trial;

             Maintaining master witness and trial exhibit lists;

             Creating demonstratives for trial, drafting motions in limine, and working with co-
              counsel on the trial strategy and implementation plan;

             Assisting with the preparation for the June 2023 and March 2024 mediations,
              including the drafting of mediation statements, and attending both mediations;

             Providing drafting input for the settlement term sheet, settlement agreement, and
              preliminary approval briefing; and

             Working with the proposed Settlement Administrator to draft notice forms and create
              a plan of allocation.

Id.     erefore, PAUL LLP should be designated as Executive Committee Counsel.

         B.       Liaison Counsel

         Courts consider the inclusion of local counsel to be “something . . . of great significance”

in considering a leadership structure that would best meet the needs of the potential class.

  omas v. Beech-Nut Nutrition Co., No. 1:21-CV-133 (DNH/CFH), 2022 WL 18399665, at *5

(N.D.N.Y. Mar. 22, 2022) (citation omitted). Here, proposed Lead and Executive Committee

Counsel’s attorneys were admitted before the Court pro hac vice. While local counsel was not

strictly required for admission, given the complexity and size of this litigation, significant

involvement from local counsel was important to eﬀectively represent the proposed Settlement

Classes. See Local Rule 83.4(d); see also Fero, 2016 WL 297742, at *3 (W.D.N.Y. Jan. 25,

2016).       is is especially true given that Memphis is where Defendants Varsity and USASF are

headquartered, Defendant Webb resides, and was the focal point of Defendants’ alleged

anticompetitive conduct. See, e.g.,     omas, 2022 WL 18399665, at *5 (“Given that defendant’s

headquarters appears located within [the court’s jurisdiction], having counsel within a reasonable

distance and within this District will serve this litigation well and allow it to proceed most

eﬃciently throughout the discovery process and beyond.”). Accordingly, Plaintiﬀs retained

Turner Feild—in particular, Van D. Turner, Jr., a respected class action antitrust attorney with

over two decades of practice experience under this District’s local rules. See SSD, ¶ 9; see also


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Turner Decl., ¶ 4. Turner Feild was involved throughout all stages of this litigation. See SSD, ¶ 9;

see also Turner Decl., ¶ 3. For example, Turner Feild:

            Evaluated the original complaint prior to filing, filed the complaint, and handled
             service of process issues and other preliminary matters;

            Assisted with researching and drafting Plaintiﬀs’ opposition to Defendant Webb’s
             motion to dismiss;

            Analyzed discovery requests and responses and motions to compel the same;

            Evaluated discovery responses and advised co-counsel as to the standard approach of
             the local bar in addressing discovery issues;

            Analyzed, researched, and summarized various orders from the Court;

            Attended key in-person hearings and advised counsel on local rules and procedures;

            Attended multiple telephone conferences with co-counsel regarding discovery
             negotiations, mediation, and trial preparation; and

            Assisted with securing trial consultants, which included providing feedback on
             potential issues with local jury.

Id.     erefore, Turner Feild should be designated as Liaison Counsel.

III.     CONCLUSION

         For the reasons set forth above, Plaintiﬀs’ request to appoint Gustafson Gluek PLLC,

Hartley LLP, and Paul LLP as Executive Committee Counsel, and Turner Feild, PLLC as Liaison
Counsel should be granted.




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Dated: May 24, 2024                  Respectfully submitted,

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